     Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 1 of 7 Page ID #:864



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10                            UNITED STATES DISTRICT COURT
11                CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12
13      DORSEY BENNETT, MICHELLE                   CASE NO.: 8:20-cv-00890-FLA-ADS
        CLINKSCALES, JASON DEUTSCH,
14
        ALICIA DUENAS, IVEETH FIERROS,             DECLARATION OF JOSHUA
15      LORENZO FORD, TINA FOREHAND,               VEDDER IN SUPPORT OF
16
        SPENCER FULLER, ANGELA                     DEFENDANTS HYUNDAI MOTOR
        HAMILTON, LILY JONES, AUDREY               AMERICA’S AND HYUNDAI
17      MAY, RAMON MEZA, RONALD                    MOTOR COMPANY’S REPLY TO
18      PADGETT, PATRICK SANDYS, SARA              OPPOSITION TO MOTION TO
        SMITH, SASKIA THOMSON, BRIAN               COMPEL ARBITRATION OF
19      VARDARO, AND ELIOTT WILLIS,                CLAIMS OF PLAINTIFFS ALICIA
20      individually and on behalf of all others   DUENAS, IVEETH FIERROS AND
        similarly situated,                        LILY JONES
21
                           Plaintiffs,             [Reply Filed Concurrently]
22

23      vs.                                        Hearing Date: January 25, 2021
                                                   Hearing Time: 8:30 a.m.
24
        HYUNDAI MOTOR AMERICA, a                   Courtroom:    6B
25      Corporation; and HYUNDAI MOTOR
        COMPANY, a business entity,                Assigned to Judge Fernando L. Aenlle-
26
                                                   Rocha
27                         Defendants.
                                                   Action Filed: May 12, 2020
28
                                                   Trial Date: None


       53001706
     Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 2 of 7 Page ID #:865



 1
                                  DECLARATION OF JOSHUA VEDDER
 2
                  I, Joshua Vedder, declare as follows:
 3
                  1.    I have personal knowledge of the facts set forth in this Declaration and, if
 4
       called and sworn as a witness, I could and would testify completely thereto under oath. I
 5
       submit this Declaration in support of Defendant Hyundai Motor America’s and Hyundai
 6
       Motor Company’s Reply to Opposition to Motion to Compel Arbitration of Claims of
 7
       Plaintiffs Alicia Duenas, Iveeth Fierros, and Lily Jones.
 8
                  2.    I am a Senior Group Manager, Customer Care Center & Customer Connect,
 9
       Customer Experience at Hyundai Motor America (“HMA”). I have held positions at
10
       HMA since 2005. Between January 2005 and December 2013, I was a Senior Manager
11
       for New Model and Accessory Development at HMA. I have been a Senior Group
12
       Manager since December 2013 and have held this position in the Customer Care Center
13
       & Customer Connect, Customer Experience Group since 2018.
14
                  3.    In my capacity at HMA, I have access to HMA business records related to
15
       vehicle services and repairs performed at authorized Hyundai dealerships, made or
16
       maintained in the ordinary course of regularly conducted business activity. I make this
17
       declaration based upon my review of those records in the databases that HMA uses to
18
       maintain information associated with such vehicle services and repairs, and from my own
19
       personal knowledge regarding how such records are maintained. The records attached to
20
       this declaration and referenced below are maintained by HMA in the course of its
21
       regularly conducted business activities and are made at or near the time of the events they
22
       reflect, by or from information transmitted by a person with knowledge. As to HMA
23
       business records that consist of or relate to documents created by third parties, HMA
24
       relies on the accuracy of such records in conducting its business.
25
                  4.    Attached as Exhibit 1 is a true and correct copy of a Warranty Claim
26
       History document summarizing services and repairs for Plaintiff Alicia Duenas’s 2020
27
       Hyundai Palisade performed at authorized Hyundai dealerships. As shown on the
28


                                                          1
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 Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 3 of 7 Page ID #:866



 1   Warranty Claim History, services and/or repairs were performed on the vehicle under
 2   HMA’s New Vehicle Limited Warranty in October 2019 and May 2020.
 3              5.    Attached as Exhibit 2 is a true and correct copy of a Warranty Claim
 4   History document summarizing services and repairs for Plaintiff Lily Jones’s 2020
 5   Hyundai Palisade performed at authorized Hyundai dealerships. As shown on the
 6   Warranty Claim History, services and/or repairs were performed on the vehicle under
 7   HMA’s New Vehicle Limited Warranty between June and July 2020.
 8

 9              I declare under penalty of perjury under the laws of the United States of America
10   that the foregoing is true and correct and that this Declaration was executed at
11   __________________,
      Fountain Valley    California, on this 5th
                                             __ day of January 2021.
12
                                                _________________________
13
                                                     Joshua Vedder
14

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                                                      2
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Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 4 of 7 Page ID #:867




                     EXHIBIT 1
                   Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 5 of 7 Page ID #:868


    Warranty Claim History



Dealer Name     Dealer   Claim Seq   Repair   Mileage   Repair Date   Repair       Claim                Nature        Cause Description   Operation Description
                Code     Number      Order              Open          Date Close   Type Description     Description
                                     Number
HYUNDAI         CA344    894430      089443   3         7/9/2019                   Pre-delivery         Nature Code   Cause Code          PRE-DELIVERY
MISSION HILLS                                                                      Inspection/Service                                     INSPECTION/SERVICE
HYUNDAI         CA344    927091      092709   4106      10/5/2019     10/5/2019    New Veh. LTD                                           NTF Op For No DTC or
MISSION HILLS                                                                      Warranty                                               Driveability Concern
ALEXANDER       CA359    52635D      052635   10634     2/20/2020     2/20/2020    Campaign                                               PALISADE NAVI
HYUNDAI OF                                                                                                                                SYS.SOFTWARE
OXNARD
ALEXANDER       CA359    52635E      052635   10634     2/20/2020     2/20/2020    Campaign                                               PALISADE CURTAIN
HYUNDAI OF                                                                                                                                AIRBAG
OXNARD
ALEXANDER       CA359    52635G      052635   10634     2/20/2020     2/20/2020    Goodwill & VIP                                         RIDESHARE SERVICE
HYUNDAI OF                                                                         Inspection
OXNARD
ALEXANDER       CA359    54214B      054214   13467     5/8/2020      5/11/2020    New Veh. LTD                                           HOSE-FRONT
HYUNDAI OF                                                                         Warranty                                               WINDSHIELD WASHER
OXNARD




                                                                                                                              Page 3      Exhibit 1
Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 6 of 7 Page ID #:869




                     EXHIBIT 2
                 Case 8:20-cv-00890-FLA-ADS Document 53-1 Filed 01/12/21 Page 7 of 7 Page ID #:870


    Warranty Claim History



Dealer Name   Dealer   Claim Seq   Repair   Mileage   Repair Date   Repair       Claim                Nature        Cause Description   Operation Description
              Code     Number      Order              Open          Date Close   Type Description     Description
                                   Number
RIVERSIDE     CA197    32794B      332794   9039      10/22/2019    10/22/2019   Goodwill & VIP                                         WHEEL ALIGNMENT
HYUNDAI                                                                          Inspection                                             (ALL) -ADJUSTMENT
RIVERSIDE     CA197    32794R      332794   9039      10/22/2019    10/22/2019   Goodwill & VIP                                         THIRD PARTY NON-
HYUNDAI                                                                          Inspection                                             HYUNDAI RENTAL
RIVERSIDE     CA197    363784      363784   13632     2/14/2020     2/14/2020    Campaign                                               PALISADE CURTAIN
HYUNDAI                                                                                                                                 AIRBAG
RIVERSIDE     CA197    391693      391693   17529     6/29/2020     7/8/2020     New Veh. LTD                                           PANEL ASSY-REAR
HYUNDAI                                                                          Warranty                                               DOOR TRIM,LH
RIVERSIDE     CA197    63784A      363784   13632     2/14/2020     2/14/2020    Campaign                                               PALISADE NAVI
HYUNDAI                                                                                                                                 SYS.SOFTWARE
RIVERSIDE     CA197    91693R      391693   17529     6/29/2020     6/29/2020    Goodwill & VIP                                         THIRD PARTY NON-
HYUNDAI                                                                          Inspection                                             HYUNDAI RENTAL
RIVERSIDE     CA197    PDI730      300651   8         7/1/2019                   Pre-delivery         Nature Code   Cause Code          PRE-DELIVERY
HYUNDAI                                                                          Inspection/Service                                     INSPECTION/SERVICE




                                                                                                                             Page 4 Exhibit 2
